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            Exhibit 1
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From: Serpico, Robert
Sent: Wednesday, May 28, 2014 11:44 AM
To: 'Steve Rossi'
Subject: FW: Do not destroy documents


Is he now evicted ? Where is he living ?

Robert M. Serpico
CFO
Battery Park City Authority
200 Liberty Street
One World Financial Center
New York, NY 10281-1097
212 417-4253
robert.serpico@bpca.ny.gov
New York's Battery Park City


Please consider the environment before printing this email


From: BatteryPark.TV [mailto:steve@batterypark.tv]
Sent: Wednesday, May 28, 2014 11:35 AM
To: Steve Rossi; drankin@milfordmgmt.com; Loraine Doyle; Clive Spagnoli; Dennis Mehiel; Serpico,
Robert; Hyman, Shari; Forst, Robin; goldsteinp@assembly.state.ny.us; silver@assembly.state.ny.us;
ackermanc@assembly.state.ny.us
Cc: jbodoff@dsalaw.net
Subject: Do not destroy documents

As you are aware, the Second District Attorney, Preet Bharara, has informed state officials to not
destroy any documents obtained in the Moreland Commission. I will be subpoenaing emails and
phone records from your offices relating to my retaliatory eviction. If you delete any emails,
digital video, etc you will be violating the law.

cc: DOJ

Steven Greer, MD
BatteryPark.TV
(212) 945-7252
steve@batterypark.tv




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